
USCA1 Opinion

	










                            United States Court of Appeals
                                For the First Circuit

                                 ____________________


        No. 95-1384

                              UNITED STATES OF AMERICA,

                                      Appellee,

                                          v.

                                    TREVOR WATSON,

                                Defendant, Appellant.


                                 ____________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF MASSACHUSETTS

                   [Hon. Douglas P. Woodlock, U.S. District Judge]
                                              ___________________

                                 ____________________

                                        Before

                               Selya, Boudin, and Lynch,

                                   Circuit Judges.
                                   _______________

                                 ____________________

            Robert M. Pollak, by appointment of the court, for appellant.
            ________________
            Paul  G. Levenson,  Assistant United  States Attorney,  with  whom
            _________________
        Donald K. Stern, United States Attorney, was on brief, for appellee.
        _______________


                                 ____________________

                                   February 2, 1996
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                      LYNCH,  Circuit  Judge.    A pistol  assault  on  a
                      LYNCH,  Circuit  Judge.
                              ______________

            teenager in the Cathedral Housing Project of the South End of

            Boston led ultimately to the  conviction of Trevor Watson for

            the  federal offense of possession  of a firearm  by a person

            previously  convicted of  a  felony, 18  U.S.C.    922(g)(1).

            Watson was identified by the victim within twenty  minutes of

            the attack in a show-up in the project conducted by the alert

            Boston police officers on the scene.  Watson was sentenced to

            64  months  of  imprisonment   followed  by  three  years  of

            supervised release.

                      Watson  appeals, saying the district court erred in

            denying   his    motion   to   suppress    the   on-the-scene

            identification and  in denying his motion for  acquittal.  He

            also  says  the  government  withheld  exculpatory  evidence.

            Finding  that  the  district  court's conclusions,  after  it

            carefully  and sensitively considered  these arguments at the

            trial stage, were correct, we affirm.

                      The jury  was entitled to find  the following urban

            saga.    As  Alexander  Milette  was bicycling  home  to  the

            Cathedral  Project, a Porsche  drove past him  and stopped in

            front  of his  house.   Trevor  Watson  got out  of  the car,

            carrying  a loaded pistol of  the type favored  by the Boston

            police, a  Glock 9mm semi-automatic.   After accusing Milette

            of  liking  "hitting  on"  women,  Watson  aimed  the gun  at

            Milette's stomach.  Someone said "Don't shoot him."



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                      Instead,  Watson   pistol-whipped  Milette's  head,

            causing the  gun to  fire into  a building and  then to  jam.

            Milette,  bleeding, ran  while  Watson unjammed  the gun  and

            fired   again,  hitting  the  building  Milette  ran  behind.

            Milette sought sanctuary  at a friend's house  and was helped

            with his bleeding head.

                      Watson had  jumped back  into the Porsche,  only to

            have it stall out in a deep puddle.  A nearby off-duty Boston

            Police officer, Officer Christopher Shoulla, heard the shots,

            drove to the project, and put out a call on his police radio.

            Officer Shoulla saw  Watson and  asked him to  stop.   Watson

            instead fled,  clutching his  right pocket, and,  ironically,

            ran right past  Milette and  past another youth.   Two  other

            Boston officers  arrived and  gave chase.   Watson  threw the

            gun, as he ran, into a small garden.  Officer Shoulla stopped

            Watson at gunpoint.  When the officers patted down Watson and

            determined  he had no  gun, they retraced  Watson's steps and

            found it within forty seconds.

                      One  officer saw  Milette, still  holding  a bloody

            towel  to his  head, and  had the  others bring  Watson over.

            Watson was brought over  by patrol car and Milette  was asked

            by  the  police, "What's  the  story?"   Milette  looked, and

            identified Watson  as his assailant.   He later  testified he

            was 100%  sure  of  that  identification.   Watson  was  also

            identified by the other youth past whom he had run.   The two



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            spent cartridges from  the scene of  the assault matched  the

            pistol Watson discarded.

            The Show-Up
            ___________

                      Watson  attacks  the   show-up  identification   as

            impermissibly suggestive and unreliable  and claims error  in

            the denial of  his motion  to suppress.   A district  court's

            denial  of a  motion  to  suppress  will  be  upheld  if  any

            reasonable view of the evidence supports the  denial.  United
                                                                   ______

            States v. De Jesus-Rios,  990 F.2d 672, 677 (1st  Cir. 1993).
            ______    _____________

            The  findings  of the  district court  after  a hearing  on a

            pretrial motion  to  suppress are  binding  on the  court  of

            appeals unless they are clearly erroneous.  Id.
                                                        ___

                      Evidence of pre-trial identification may be subject

            to constitutional  limitations under the Due  Process Clause.

            Manson  v. Brathwaite,  432  U.S. 98  (1977).   To  determine
            ______     __________

            whether evidence  of  a pre-trial  identification  should  be

            suppressed, a  two-pronged analysis  is required.   De Jesus-
                                                                _________

            Rios,   990 F.2d  at 677.   First, the  court must  determine
            ____

            whether the procedure was impermissibly suggestive.   Id.  If
                                                                  ___

            it so finds, it must decide whether the identification itself

            was  reliable  under  the   totality  of  the  circumstances,

            notwithstanding the suggestive procedure.   Id.  Furthermore,
                                                        ___

            before suppressing identification evidence, a "court  must be

            persuaded  that there  was a  very substantial  likelihood of

            irreparable  misidentification,"  and  only in  extraordinary



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            circumstances should identification evidence be withheld from

            the jury.  Id. (internal quotations omitted).
                       ___

                      There is no reason  to disturb the district court's

            finding  here that  the show-up identification  procedure was

            not unnecessarily suggestive, a  finding that eliminates  the

            due process argument.  Show-ups immediately after the offense

            has been committed  may be  necessary in order  to avoid  the

            mistaken apprehension of the wrong person.  See, e.g., United
                                                        ___  ____  ______

            States v. Bautista,  23 F.3d  726, 730 (2d  Cir.) ("where  an
            ______    ________

            officer has or should have doubts  whether a detained suspect

            is in fact the person sought, the officer must make immediate

            reasonable  efforts  to   confirm  the  suspect's  identity";

            internal quotations  omitted), cert.  denied, 115 S.  Ct. 174
                                           _____________

            (1994);  Johnson v.  Dugger,  817 F.2d  726,  729 (11th  Cir.
                     _______     ______

            1987); United  States v. Bagley,  772 F.2d  482, 492-93  (9th
                   ______________    ______

            Cir.   1985)  (one-on-one  show-up   at  bank  shortly  after

            commission  of  bank  robbery   held  to  be  a  "legitimate"

            procedure),  cert. denied,  475  U.S. 1023  (1986); Frank  v.
                         ____________                           _____

            Blackburn, 605 F.2d 910, 912-13 (5th Cir. 1979) (procedure of
            _________

            taking  suspect apprehended  less than  thirty minutes  after

            robbery seven blocks from  robbery to the scene of  the crime

            not  unnecessarily  suggestive without  words  or  actions by

            police  to  aggravate  suggestiveness),  modified   on  other
                                                     ____________________

            grounds, 646 F.2d 902, cert. denied, 454 U.S. 840 (1981).
            _______                ____________





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                      The case  on which Watson relies,  Velez v. Schmer,
                                                         _____    ______

            724 F.2d 249 (1st Cir.  1984), proves no help to him,  as the

            police  conduct  there was  at the  other  end of  the scale.

            There, the  show-up was staged at 3:00  a.m., nine and a half

            hours  after  the  crime,  at  the  station  house,  and  the

            defendant  was presented  to  the youthful  victims who  were

            asked "This is him, isn't  it?"  Id. at 250.  Here, the crime
                                             ___

            was very fresh, the police not suggestive, and had Watson not

            been the assailant, Milette could easily have said so.  While

            show-ups,  as the  district  court recognized,  contain  some

            inherent element of suggestiveness, the finding that this one

            did not cross the line was not erroneous.1


                                
            ____________________

            1.  The  district  court's   second-level  finding  that  the
            identification  was  reliable  under  the   five-factor  test
            articulated  in De Jesus-Rios was also not erroneous.  See De
                            _____________                          ___ __
            Jesus-Rios,  990 F.2d at 677 (court  should consider "(1) the
            __________
            opportunity of the witness  to view the criminal at  the time
            of the crime; (2)  the witness' degree of attention;  (3) the
            accuracy of  the witness' prior description  of the criminal;
            (4) the level of certainty demonstrated by the witness at the
            confrontation; and  (5) the length of time  between the crime
            and  the confrontation";  internal  quotations omitted);  see
                                                                      ___
            also Manson v.  Brathwaite, 432 U.S. 98,  114-16 (1977); Neil
            ____ ______     __________                               ____
            v.  Biggers, 409 U.S. 188,  199-200 (1972).   The only factor
                _______
            that weighs against admitting the out-of-court identification
            is  that there  was no  prior  description of  the assailant.
            However, "'the absence  of a prior description by the witness
            does   not  necessarily   render   his  or   her   subsequent
            identification suspect.'"  United States v. Mohammed, 27 F.3d
                                       _____________    ________
            815, 822 (2d Cir.) (quoting United States v. Concepcion,  983
                                        _____________    __________
            F.2d 369, 377-78 (2d Cir. 1992), cert. denied, 114 S. Ct. 163
                                             ____________
            (1993)), cert. denied, 115 S. Ct.  451 (1994).  Here, like in
                     ____________
            Mohammed, where  the witness  had ample opportunity  to focus
            ________
            his  attention  on the  suspect  and  identified the  suspect
            minutes after  the assault, we agree  that the identification
            was reliable.

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            The Brady Argument
            ____     _________

                      Defendant  also  argues,  without  avail,  that the

            government  failed to  disclose two  items of  information in

            violation of Brady v. Maryland, 373 U.S. 83 (1963).  
                         _____    ________

                      Rumor
                      _____

                      The first has to do with a rumor.  The pre-sentence

            report recounted  a rumor  that Milette's brother,  who looks

            like  Milette, threw water  at a woman  described as Watson's

            girlfriend some time before the assault.  Defendant moved for

            a  new trial based on this "new" evidence, which the district

            court denied.

                      To show a Brady  violation, the defendant must show
                                _____

            that the  withheld "evidence was exculpatory,  as measured by

            its materiality."  United  States v. Hemmer, 729 F.2d  10, 14
                               ______________    ______

            (1st  Cir.), cert. denied, 467 U.S. 1218 (1984).  Evidence is
                         ____________

            material  if  there  is  a reasonable  probability  that  the

            outcome of the proceeding would  have been different had  the

            evidence been disclosed.   United States v. Bagley, 473  U.S.
                                       _____________    ______

            667, 682 (1985).

                      The   rumor   was   obviously    inculpatory,   not

            exculpatory.   The argument presented -- that if he had known

            of the rumor, Watson  could have found a woman,  not Watson's

            girlfriend, who had water thrown on her and thus come up with

            a  different  assailant out  to  get  Milette's brother  (and

            inadvertently Milette) -- is sheer speculation and not enough



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            to  meet Watson's burden.2  In light of the identification of

            Watson by Milette and by the youth, the gun evidence, and the

            police testimony, there is  no "reasonable probability that .

            .  . the result of the proceeding would have been different."

            Id.
            ___

                      Exposure to Photograph
                      ______________________

                      A federal agent may have shown Milette a photograph

            of  Watson  before  Milette  testified   at  the  suppression

            hearing.    While  such conduct,  if  it  occurred,  was both

            improper and  could have jeopardized  the government's case,3

            on the  facts here  there is no  resulting reversible  error.

            That  is because  Watson  was given  this information  before

            trial,   the  government   did   not   attempt  an   in-court

            identification after the purported showing, and Watson's case

            was helped, not  hurt, by  such conduct.   The agent's  usual

            practice  was  to  carry  photographs of  the  defendant  and

            subpoenas  in  the  same  file, which  may  have  resulted in

            Milette seeing Watson's photograph.


                                
            ____________________

            2.  Defendant  also claims  that he  could have  put Watson's
            girlfriend on the stand to testify that no one threw water at
            her.   However, the relevancy  of that testimony would depend
            upon the  admission of  the rumor,  which the  district court
            correctly found was inadmissible hearsay.

            3.  If the single photo  indeed had been shown to  Milette in
            an effort  to bolster his  identification of Watson,  we join
            the comments of  the experienced district  judge that he  was
            "astonished that a federal  investigative agency has an agent
            who goes  out, opens her  file folder with  a picture of  the
            defendant as a matter of course."

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                      Immediately on learning  that Milette  said he  had

            been shown  a photograph  of Watson, the  prosecutor notified

            defense  counsel shortly  before  trial began  on October  3,

            1994.   On October 5, the district  court held a voir dire on
                                                             _________

            the issue at which federal agent Sheila O'Hara testified that

            she carried photographs of defendant in her case file and may

            have inadvertently  exposed them to Milette  when serving him

            with one of several subpoenas.  The district court found that

            this  happened no  sooner  than the  day  of the  suppression

            hearing.  The defendant used the information to his advantage

            by  calling  Agent O'Hara  as  his  sole  defense witness  to

            testify that  Milette did not  identify the defendant  as his

            assailant even  if he saw a  photograph of him  and to attack

            the investigation.

                      Watson's  Brady  violation  argument  is  misplaced
                                _____

            because the evidence was disclosed before trial and there was

            no demonstrable  prejudice from the delay  in the disclosure.

            See United States v. Innamorati, 996 F.2d 456, 480 (1st Cir.)
            ___ _____________    __________

            (citing United States v.  Devin, 918 F.2d 280, 290  (1st Cir.
                    _____________     _____

            1990)),  cert. denied, 114 S. Ct. 409 (1993).  Defendant does
                     ____________

            not  even argue  that  the delay,  if  any, was  prejudicial.

            Indeed, in light of the district court's careful handling  of

            this  matter and  the  failure of  the  defendant to  seek  a

            continuance upon learning that  Milette may have been exposed

            to  a  photograph of  Watson,  any delay  was  not materially



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            prejudicial.   See United States v. Osorio, 929 F.2d 753, 758
                           ___ _____________    ______

            (1st Cir. 1988) ("Generally we have viewed the failure to ask

            for a continuance  as an indication that  defense counsel was

            himself satisfied  he had  sufficient opportunity to  use the

            evidence advantageously.").

                      Further, the  only identification Milette  made was

            at the show-up within 20 minutes of the assault.  No in-court

            identification  was  sought  by   the  government.    At  the

            suppression hearing, almost a year after the assault, Milette

            testified that at the  time of the show-up  identification he

            was sure Watson  was his  assailant, and agreed  that he  had

            recently told Agent  O'Hara that he could  no longer identify

            his assailant.  The fact that he may have been  shown a photo

            after the  show-up is  not material,  and the  district court

            correctly  found that  it could not  be the  basis for  a new

            trial.

            Motion for Acquittal
            ____________________

                      Defendant also argues that the district court erred

            in denying his motion  for judgment of acquittal.   We review

            the evidence  presented at  trial, viewed in  the light  most

            favorable to  the government,  to see  if it  could establish

            each  element  of the  offense  charged  beyond a  reasonable

            doubt.   United States v.  Hernandez, 995 F.2d  307, 311 (1st
                     _____________     _________

            Cir.),  cert. denied, 114 S.  Ct. 407 (1993).   Watson argues
                    ____________

            that the motion  should have been  granted because his  right



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            under  the  Sixth  Amendment  to  cross-examine  Milette  was

            impaired because  of  the out-of-court  nature  of  Milette's

            identification of Watson.

                      But United  States v.  Owens, 484 U.S.  554 (1988),
                          ______________     _____

            forecloses any such argument.  The Court there said:

                      "[T]he Confrontation  Clause is generally
                      satisfied when  the  defense is  given  a
                      full  and fair  opportunity to  probe and
                      expose   . . .   infirmities   [such   as
                      witness'   forgetfulness,  confusion   or
                      evasion]    through    cross-examination,
                      thereby calling  to the attention  of the
                      factfinder the reasons  for giving  scant
                      weight to the witness' testimony."

            Id. at 558 (quoting Delaware v. Fensterer, 474 U.S. 15, 21-22
            ___                 ________    _________

            (1985) (per  curiam)).  Defense counsel's  vigorous attack on

            the  reliability  of  Milette's  out-of-court  identification

            itself refutes the argument  that Watson did not have  a full

            and fair opportunity to probe.  Indeed, this case presented a

            significantly  better opportunity  to cross-examine  than did

            Owens.
            _____

                      Watson  also  argues  that  the  use  of  Milette's

            statement at the suppression hearing -- that he was 100% sure

            at  the  show-up  that  the  person  he  identified  was  his

            assailant  -- to  refresh his  memory at  trial violated  the

            Confrontation Clause.   Watson's claim is  that the statement

            of   certainty  was  not   subject  to   unrestricted  cross-

            examination because defense counsel did not know at  the time

            of  the  suppression  hearing  that  Milette  may  have  been



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            suggestively exposed to  Watson's photograph.  Accepting  the

            dubious premise that Milette  was not subject to unrestricted

            cross-examination  at  the  suppression hearing,4  there  was

            ample  opportunity to  cross-examine  the witness  as to  the

            reliability  of  that  statement  at trial.    There  was  no

            violation  of the Confrontation Clause.   See Owens, 484 U.S.
                                                      ___ _____

            at 560.  As a result, the district court correctly denied the

            motion to acquit.

            Conclusion
            __________

                      We find no  error in the  proceeding of the  trial.

            The  district  court admirably  handled  these  issues.   The
                                                                      ___

            judgment is affirmed.
            _____________________























                                
            ____________________

            4.  Defendant did  not argue in  his brief that  this alleged
            impairment of his opportunity to cross-examine Milette at the
            suppression hearing affected the outcome of that hearing.

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